                     Case 1-17-46077-ess                             Doc 2   Filed 11/15/17     Entered 11/15/17 14:50:41



 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
         ---------------------------------------------X                             Chapter 13
 IN RE: Plinio Mateo
                                                                                    Case No.:

                                      Debtor(s)                                     CHAPTER 13 PLAN
                  ---------------------------------------------X
     1. The future earnings of the debtor(s) are submitted to the supervision and control of the
 trustee, and the debtor(s) shall pay to the trustee for a total of 60 months, the sum of:
         $ $2187.00 + $405.00 = $2592.00 commencing December 15, 2017 through and including                             November 15,
2022 for a period of 60 months;

    2. From the payments so received, the trustee shall make disbursements as follows:
            (a)     Full payment in deferred cash payments of all claims entitled to priority under
11 U.S.C. §507.
            (b)     Holders of allowed secured claims shall retain the liens securing such claims
and shall be paid as follows:

ALL POST-PETITION PAYMENTS, INCLUDING BUT NOT LIMITED TO, MORTGAGE PAYMENTS, VEHICLE
PAYMENTS, REAL ESTATE TAXES and INCOME TAXES, TO BE MADE OUTSIDE THE PLAN BY THE DEBTOR(S).

Chase (mortgage holder) account ending on 1986 on the property located at 78-40 64th Street, Glendale, NY 11385 to be
paid pre-petition arrears in the sum of $ 0 plus % interest over the life of the plan. Post Petition mortgage payments to
be paid outside the Chapter 13 plan directly to the creditor in the amount of $1651.08

Rushmore Loan Management (mortgage holder) account ending on 5502 on the property located at 856 Wyckoff Avenue,
Brooklyn, NY 11237 to be paid pre-petition arrears in the sum of $ TBD, all arrears, including all past due payments, late
charges, escrow deficiency, legal fees and other expenses due to the mortgagee total totaling approx $572,000 after deferred
principal is applied and will be paid at 2% interest amortized over 40 years, The estimated monthly payment is $1733 plus
escrows $454.00, Total PITI to be paid $2,187.. Debtor is seeking to modify the said mortgage outside the Bankruptcy court.
The estimated monthly payment (Post Petition mortgage payments) shall be paid directly to the Chapter 13 Trustee while
the Loss Mitigation is pending.


            (c)      Subsequent to distribution to secured creditors, dividends to unsecured creditors whose claims are
duly allowed as follows: PRO RATA distribution to all timely filed proofs of claim of not less than 4 %(percent).

      3. All lease agreements are hereby assumed, unless specifically rejected as follows:
              Other Party                                   Description of Contract or Lease
                -NONE-

     4. During the pendency of this case, the debtor(s) will provide the Trustee with signed copies of filed federal and state
tax returns for each year no later than April 15th of the year following the tax period. Indicated tax refunds are to be paid to
the Trustee upon receipt; however, no later than June 15th of the year in which the tax returns are filed.

Title to the debtor(s) property shall revest in the debtor(s) upon completion of the plan, unless otherwise provided in the
Order confirming this plan. Throughout the term of this plan, the debtor(s) will not incur post-petition debt over $1,500.00
without written consent of the Chapter 13 trustee or the Court.



 /s/ Plinio Mateo
 Plinio Mateo
 Debtor

 Dated: November 15, 2017                                                     /s/ Brian McCaffrey
                                                                              Brian McCaffrey
                                                                              Attorney for Debtor

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